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FORM 95 EQUIVALENT
Submit to Appropriate Federal Agency:

Federal Bureau of Prisons
320 First Street NW
Washington, DC 20534

Name, address of claimant, and claimant’s personal representative if any.

Maribel Santana Cerano; Register Number: 99877-479
FMC Carswell

Naval Air Station

J St., Bldg. 3000

Fort Worth, TX 76127

Represented by:

Randall L. Kallinen
Kallinen Law PLLC

511 Broadway Street
Houston, Texas 77012
attorneykallinen@aol.com
713/320-3785

TYPE OF EMPLOYMENT
Civilian

DATE OF BIRTH

November 26, 1976

MARITAL STATUS

Single

DATE AND DAY OF ACCIDENT

March 9, 2022 to the present
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7. TIME (A.M. OR P.M.)
This is a medical malpractice case over several months so the times vary
8. BASIS OF CLAIM

Most of the proof and facts are found in the claimant’s medical and prison
records in the custody of FDC Houston and FMC Carswell in Fort Worth.
Claimant gives permission for the FTCA claim evaluators to get copies of all
claimants medical and prison records. Claimant was sentenced to federal prison on
March 9, 2022 in Houston, Texas. After sentencing she was housed at FDC
Houston, 1200 Texas Avenue, Houston, Texas 77002. At the time she had a wound
partially caused by silicone implants in her buttocks. While at FDC Houston
despite several requests claimant did not see a doctor. During this time the wound
was getting worse and claimant was in severe pain. Claimant was not given the
appropriate medications to reduce the excruciating pain she endured. During her
incarceration she could have had a surgery to close the wound. As a result of the
delayed surgery much skin had died and the amount of pain was greatly increased
as well as permanent nerve damage. Reconstruction is now not possible due to the
delays in treatment and surgery. The scarring is much more pronounced and larger
had the treatment and surgery been done as soon as possible or at least at a
reasonable time. Furthermore, once claimant arrived at Carswell FMC in May of
2022 there were further delays and at least two times that surgery has been
delayed. These further delays have lead to increased and prolonged severe pain and
exacerbated and increased the loss of skin and the amount of pain was greatly
increased as well as permanent nerve damage. As before reconstruction is now not
possible and scarring is more pronounced and larger due to delays in treatment and
surgery at FMC Carswell. During these times claimant’s wounds became infected
and had the proper treatment and surgery these infections and their attendant pain,
nausea, and illness could have been avoided.

Additionally, claimant was informed that once she arrived at Carswell there
would be the necessary wound treatment equipment there (a portable wound
vacuum), however, after she arrived the equipment was not there. This delay in
equipment also contributed to the increased pain, scarring, and other problems
described above.

The doctors and healthcare professionals involved are listed in the
claimant’s medical records.

Claimant has some medical records and provides five groups (enclosed)
including:
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Cerano.med records Part | (after arrival at Carswell FMC)

Cerano.med records Part 2 (re: wound equipment promised and needed)

Cerano.med records Part 3 (errors on prison medical records)

Cerano.med records Part 4 (appointments for needed surgery)

Cerano.med records Part 5 (documents illustrating the level of claimant’s
sickness)

9. | PROPERTY DAMAGE NAME AND ADDRESS OF OWNER, IF
OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE
DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE
INSPECTED.

This is not a property claim.

10. PERSONAL INJURY/WRONGFUL DEATH STATE THE
NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH
FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE
THE NAME OF THE INJURED PERSON OR DECEDENT.

The injuries are described in #8 above. Plaintiff has suffered increased pain
for around 7 months to date. There is permanent severe scarring and nerve damage.

11. WITNESSES NAME ADDRESS (Number, Street, City, State, and
Zip Code)

Claimant is a witness.
The healthcare providers at Carwell FMC and Houston FDC (see above
addresses) as set forth in the medical records.

12. AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE: NA

12b. PERSONAL INJURY: $25,000,000.00
12c. WRONGFUL DEATH: NA

12d. TOTAL: $25,000,000.00

I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY
DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND
AGREE TO ACCEPT SAID AMOUNT IN FULL SATISFACTION AND FINAL
SETTLEMENT OF THIS CLAIM.
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13a. SIGNATURE OF CLAIMANT Ll J : fr

13b. PHONE NUMBER OF PERSON SIGNING FORM: 713/320-3785
14. DATE OF SIGNATURE: November 3, 2022

CIVIL PENALTY FOR PRESENTING FRAUDULENT CLAIM The claimant is
liable to the United States Government for a civil penalty of not less than $5,000
and not more than $10,000, plus 3 times the amount of damages sustained by the
Government. (See 31 U.S.C. 3729). CRIMINAL PENALTY FOR PRESENTING
FRAUDULENT CLAIM OR MAKING FALSE STATEMENTS Fine,
imprisonment, or both. (See 18 U.S.C. 287, 1001.)

INSURANCE COVERAGE: In order that subrogation claims may be
adjudicated, it is essential that the claimant provide the following information
regarding the insurance coverage of the vehicle or property.

15. Do you carry accident Insurance? No.

16. Have you filed a claim with your insurance carrier in this instance,
and if so, is it full coverage or deductible? No.

17.  Ifdeductible, state amount. NA
18. If aclaim has been filed with your carrier, what action has your
insurer taken or proposed to take with reference to your claim? (It is necessary that

you ascertain these facts). NA

19. Do you carry public liability and property damage insurance? No.
